                        UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF NORTH CAROLINA
                              WESTERN DIVISION



YOLANDA IRVING, individually and as the natural parent
and guardian of J.I. , JUWAN HARRINGTON , CYDNEEA
HARRINGTON, KENYA WAL TON individually and as the
natural parent and guardian of R.W., ZIYEL WHITLEY,
DYAMOND WHITLEY, KAMISHA WHITLEY, NANETTA
GRANT as the natural parent and guardian of Z.G., and
EMANCIPATE NC, INC. ,

                      Plaintiffs,

       V.


                                                                      5:22 :CV-0068-BO
THE CITY OF RALEIGH, Officer OMAR I. ABDULLAH,
Sergeant WILLIAM ROLFE, Officer RISHAR PIERRE
MONROE, Officer JULIEN DA YID RA TTELADE, Officer
MEGHAN CAROLINE GAY, Officer DA YID MEAD,
Officer JESUS ORTIZ, Officer KYLE PERRIN, Officer
MICHEAL MOLLERE, Officer KYLE THOMPSON, Officer
VINCENT DEBONIS, Officer DANIEL TWIDDY, Officer
THOMAS WEBB, Officer DA YID MCDONALD, Officer
DA YID GARNER, Chief of Police ESTELLA PATTERSON
and City Manager MARCHELL ADAMS-DA YID, in their
official capacities,

                      Defendants.



                    CONSENT PROTECTIVE ORDER REGARDING
                     STATE BUREAU OF INVESTIGATION FILE

      The Plaintiffs, the City of Raleigh, Chief of Police Estella Patterson, City Manager

Marchell Adams-David, and individually named officers along with the North Carolina State

Bureau of Investigation (hereinafter " SBI"), through counsel, stipulate to the entry of this

Protective Order allowing release of SBI Investigative File No . 2020-2929, regarding the SBI




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investigation into the conduct of Officer Omar I. Abdullah and Dennis Leon Williams that is the

subject of this lawsuit.

       Counsel for Plaintiffs, the City of Raleigh and individually named officers and the SBI

stipulate and agree to the following statements of facts which authorize the Court' s entry of the

Protective Order:

        1.      Plaintiffs ' counsel reviewed the file at the SBI office in Raleigh prior to filing suit

and has referred to its content in the pleading.

       2.       Responsive pleadings have been filed by Defendants William Rolfe, Meghan Gay,

Rishar Monroe, Julien Rattelade, Omar Abdullah, the City of Raleigh, Marchell Adams-David ,

and Estella Patterson.

        3.      The SBI report referred to in the pleadings appears material and relevant to the

 subject matter involved in this matter.

       4.       The parties seek the re lease of the SBI investigation report in this matter for the

 parties use in the lawsuit and at mediation.

        5.      This order governs the handling and disclosure of all materials from the SBI Report,

once produced, that are used in the litigation or filed with the Court by any party to this action,

 and that are not available from any other non-confidential source.

        6.      Definitions.

                a.         "SBI Report" refers to the documents and other materials contained in SBI

        File No. 2020-2929, including any related labo ratory reports, physical evidence, phone




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            extractions, and findings and any photographs or videos related to the investigat.ion into

                                                                      1
            officer Omar I. Abdullah and Dennis Leon Williams.

                   b.      "Document" means any writing, drawing, graph, chart, recording, and any

            other document as defined in Rule 34 of the North Carolina Rules of Civil Procedure.

                   c.      Parties mean the Plaintiffs and any Defendant in this action.

            7.     Counsel for the SBI , after reviewing this file and related documents, has determined

that the SBI has no objection to producing the SBI Report to the parties in response to the Parties'

request for the following reasons:

                   a.      No policy reason exists for denial of the request of the Parties for production

            of these materials.

                   b.      There is no prejudice to the SBI by releasing this material.

                   c.      There are no identities of persons contained in the materials which need to

            be protected; and

                   d.      Wake County District Attorney Lorrin Freeman consents to the release of

            the SBI Report pursuant to this protective order.

            8.     Except as may be otherwise provided by further order of the Court, documents

contained within the SBI Report shall be used for no purpose other than prosecuting or defending

this action, including any and all motions such as motions for summary judgment, and shall be

disclosed only to the persons identified below.

            9.     Access to and the use of the SBI Report and any part of it shall be limited to the

following qualified persons/entities:




1 Officer
       Abdullah and Mr. Williams are currently being prosecuted by the Wake County District Attorney ' s Office.
Wake County District Attorney Lorrin Freeman consents to the release of the SB! file pursuant to this protective
order.

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               a.         The Parties and attorneys of record for the Parties, and their legal assistants,

       other staff members, and law student clerks; insurers, their agents and employees ; persons

       with the City of Raleigh serving in decision-making roles ; outside companies engaged by

       attorneys for the Parties to photocopy such documents; officers, managers, owners or

       employees of the Parties who provide material assistance in the legal representation of the

       Parties ;

                   b.     A deponent in the action (during a deposition or in preparation therefore)

       when the confidential materials are materially related to the questions asked to or testimony

       of such deponent;

               c.         Mediators;

               d.         Consultants and technical experts involved in the preparation of this action ;

                   e.     Court reporters, their transcribers, assistants and employees ;

               f.         Any potential or actual deposition or trial witness to the extent that it is

       necessary to tender to such witness as an exhibit a confidential document in order to elicit

       testimony relevant to the matters at issue in this case; and

                   g.     Any presiding judge at any court proceeding and any jurors sworn as the

       triers of fact.

        l 0.       In addition, the above individuals and entities that are permitted access to the SBI

Report materials and information are hereby ordered not to show, convey or reproduce any

documents so designated or parts thereof, or copies thereof, or any matter contained therein, or

any extracts or summaries thereof, to any individual , or to any entity that would not otherwise have

access to said documents under the provisions of this Protective Order, except to the qualified

persons listed above.



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        11.    Counsel may make copies of material contained within the SBI Report for

Plaintiffs ' or Defendants' experts upon receiving from said experts a written agreement that they

will be bound by the terms of this Protective Order.       The requirement of obtaining such an

agreement shall be satisfied by having each of Plaintiffs' or Defendants ' experts read,

acknowledge, and agree in writing to be bound by this Protective Order. A file of all such written

acknowledgments shall be maintained by Plaintiffs ' and/or Defendants ' counsel. By signing the

declaration agreeing to be bound by this Protective Order, each of Plaintiffs' or Defendants'

experts submits himself or herself to the jurisdiction of the Court for purposes of enforcement of

this Protective Order.

       12.     The production or disclosure of documents and materials in the SBI Report,

pursuant to the terms of this Order, shall not waive or prejudice the right of any party to object to

the production or admissibility of documents or information on grounds other than confidentiality

in this action or on grounds in any other action.

        13.    All information and materials derived from the SBI Report shall be used solely in

the prosecution or defense of this action and shall not be used or disclosed by any person for any

other purpose, except as provided herein.

       14.     Counsel for the parties are responsible for notifying any person who is provided

information or material from the SBI Report of the terms of this Protective Order. Counsel shall

keep a record of all persons to whom disclosures are made.

        15.    Any material and documents contained within the SBI Report that are deemed to

be confidential, pursuant to North Carolina General Statutes, Federal Statutes, or case law, may be

released to the persons and Court as listed herein, only if the material and information is filed in

sealed containers, containing a general description of the contents, and a statement that states the



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contents hereof are confidential and may be revea led only by the Court or upon prior written

consent of counsel for the party or witness designating the material CONFIDENTIAL

INFORMATION. In the interest of clarity, should the Parties rely on such materials and documents

in support of, or in response to, any motion before the Court, such materials and documents shall

be filed under seal.

        16.    The administrative staff of the Court shall maintain such sealed containers intact

and unopened except as otherwise directed by the Court.          However, such information shall

continue to be available to the Court and to those persons listed in this Protective Order.

        17.    After the final disposition of this action, including the conclusion of any and all

appeals, all SB! Report materials and information that were maintained in sealed files of the Court,

shall be returned to the counsel who filed such information with the Court, or returned to counsel

for the SB!.

        18.    Each person w ho receives material and information described herein submits

himself or herself to the personal jurisdiction of the Court, wherever he or she shall be, for the

enforcement of this Order.

        19.    It is specifically agreed that making the materials or documents available for

inspection and. the production of the materials or documents shall not constitute a waiver by the

parties or SBI of any claim of confidentiality, and the production of such materials or documents

may or may not be admissible into evidence at the trial of this action The parties reserve all rights

to object to the admissibility of such materials and information as provided by the Federal Rules

of Evidence and the Federal Rules of Civi l Procedure.




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       20.     Nothing in this Protective Order shall require disclosure of material or information

which the conveying party contends is protected from disclosure by the attorney-client privilege

or as attorney work product materials.

       21 .    If some of the information released pursuant to this Protective Order contains

confidential personnel information under state law, the affected party shall notify all other parties

and such information shall be treated as confidential by the receiving party and be subject to the

terms of this Order.

       22.     This Protective Order shall not prevent any party, or the SBI, from applying to the

Court for relief from this Protective Order or from applying to the Court for further or additional

Protective Orders, or from agreeing between themselves to modification of this Protective Order,

with the concurrence of the SBI and subject to the approval of the Court.

       Ordered this+ day of       "'11;' J,~I r

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         f -,
     TERRENCE W. BOYLE                     -
      UNITED STA TES DISTRICT JUDGE



CONSENTED TO BY:

Counsel for North Carolina State Bureau of Investigation,

Isl Angel E. Gray
Angel E. Gray
N .C. Bar No. 24257
NORTH CAROLINA STATE BUREAU OF INVESTIGATION
Post Office Box 2950
Raleigh, North Carolina 27626
Email : agray@ ncsbi.gov
Counsel for North Carolina State Bureau of Investigation




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Counsel for Plaintiffs,

Isl Abraham Rubert-Schewe/             Isl Emily Gladden
Abraham Rubert-Schewe!                 Emily D. Gladden
N.C. Bar No. 56863                     N.C. Bar No. 49224
TIN FULTON WALKER & OWEN , PLLC        TIN FULTON WALKER & OWEN, PLLC
119 E. Main St.                        204 N . Person Street
Durham, North Carolina 2770 I          Ral eigh, NC 2760 l
Tel: (919) 451-9216                    Tel: (919) 720-4201
Email: schewel@tinfulton.com           Fax: (919) 400-4516
Counsel for Plaintiffs                 Email: Egladden@tinfulton .com
                                       Counsel for Plaintiffs

 Isl Jan Mance                            Isl Elizabeth Simpson
 Ian A. Mance                             Elizabeth G. Simpson
 N.C. Bar No . 46589                      N.C. Bar No. 41596
 EMANCIPATE NC                            EMANCIPATE NC
 Post Office Box 309                      Post Office Box 309
 Durham, NC 27702                         Durham, NC 27702
 Tel: (828) 719-5755                      Tel : (9 I 9) 682-1149
 Email: ian@emancipatenc.org              Email : elizabeth@emancipatenc.org
 Counsel for Plaintiffs                   Counsel for Plaintiffs

 Isl Micheal L. Littleiohn Jr.
 Micheal L. Littlejohn Jr.
 N.C. Bar No. 49353
 LITTLEJOHN LAW PLLC
 PO Box 16661
 Charlotte, NC 28297
 Tel: (704) 322-458 1
 Fax: (704) 625-9396
 Emai l: mll@ littlejohn-law.com
 Counsel for Plaintiffs




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Counsel for Defendants

 Isl Dorothy V. Kibler                             Isl Jason R. Benton
 Dorothy V. Kibler                                 Jason R. Benton
N .C. Bar No. 13571                                N .C. Bar No . 27710
Deputy City Attorney                               Daniel E. Peterson
CITY OF RALEIGH ATTORNEY'S                         N.C. Bar No. 41251
OFFICEP.O. Box 590                                 PARKER POE ADAMS & BERNSTEIN, LLP
Raleigh, NC 27602                                  Bank of America Tower
Tel: (919) 996-6560                                620 S. Tryon St., Suite 800
Fax: (919) 996-7021                                Charlotte, NC 28202
Email: Dorothy.Kibler@raleighnc.gov                Tel: (704) 372-9000
Counsel for City of Raleigh, Police Chief          Fax: (704) 334-4706
Patterson in her official capacity, and City       Email: jasonbenton@parkerpoe.com
Manager Adams-David in her official capacity              danielpeterson@parkerpose.com
                                                   Counsel for Omar Abdullah in his individual
                                                   capacity

 Isl Rodney E. Pettey                              Isl Norwood P. Blanchard, III
 Rodney E. Pettey                                  Norwood P. Blanchard, III
N.C . Bar No. 17715                                N.C. Bar No . 26470
Samuel G. Thompson, Jr.                            CROSSLEY MCINTOSH COLLIER HANLEY
N.C. Bar No. 32960                                 & EDES, PLLC
YA TES , MCLAMB & WEYHER, LLP                      5002 Randall Parkway
P.O. Box 2889                                      Wilmington, NC 28403
Raleigh, NC 27602-2889                             Tel : (910) 762-9711
Tel: (919) 835-0900                                Fax: (910) 256-03 I 0
Email: rpettey@ymwlaw.com                          Email: Norwood@cmclawfirm.com
        bthompson@ymwlaw.com                       Counsel for William Rolfe in his individual
Counsel for Rishor Monroe,                         capacity
Julien Rattelade, and Meghan Gay in their
individual capacities


Isl Leslie C. Packer
Leslie C. Packer
N.C. Bar No. 13640
Ellis & Winters LLP
P.O. Box 33550
Raleigh, NC 27636
Telephone: (919) 865-7000
Facsimile: (919) 865-7010
leslie. packer@elliswinters.com
Counsel for all SEU Defendants




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